              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 M.G., I.C., K.M., P.C., and E.H.,

                           Plaintiffs,
                                                     Case No. 24-CV-1259-JPS


 v.

 EAST TROY COMMUNITY SCHOOL
 DISTRICT, PETER SYENS, KRISTA                           ABBREVIATED
 ISERLOTH, CRISTOPHER HIBNER, and                         SCHEDULING
 KATHERINE LIESKE HARDER,                                      ORDER

                           Defendants.


       In order that the above-captioned litigation—now pending since

October 2024—be brought to conclusion, the following dates have been set:

       INTERIM
       SETTLEMENT
       REPORT:              Friday, July 11, 2025

       DISPOSITIVE
       MOTIONS:             Friday, August 8, 2025

       Unless otherwise specified, the parties should follow the standard

deadlines as set by the Federal Rules of Civil Procedure and the local rules.

Motions for extensions of time will not be looked upon favorably. The

parties and their counsel are bound by the dates set herein, and no

extensions or continuances will be granted without good cause shown.




Case 2:24-cv-01259-JPS        Filed 12/04/24   Page 1 of 2    Document 26
     Dated at Milwaukee, Wisconsin, this 4th day of December, 2024.

                               BY THE COURT:




                               J.P. Stadtmueller
                               U.S. District Judge




                             Page 2 of 2

Case 2:24-cv-01259-JPS    Filed 12/04/24   Page 2 of 2   Document 26
